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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:92CR14
                              )
          v.                  )
                              )
ROY WILLIAMS,                 )                    ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motions

to modify sentence (Filing Nos. 1085 and 1095), and the

stipulation of the parties (Filing No. 1104).              The retroactive

amendment to the cocaine base guideline changes the total (final)

offense level from 39 to 37.         The government and defense agree

that the new sentence should be one hundred seventy-nine (179)

months imprisonment, based on the prior computation of specific

offense characteristics, adjustments, and any departures.

Considering the time served and credit for good time,

           IT IS ORDERED that said motions are granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to time served, and the defendant is

entitled to be released.      Execution of this order shall be stayed

for ten (10) days from the date of this order.              The conditions of
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supervised release entered in the original judgment and committal

order remain in full force and effect.

           DATED this 3rd day of March, 2008.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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